    Case 2:07-md-01873-KDE-MBN Document 14431 Filed 06/18/10 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                      MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                             SECTION “N-5"

                                                         JUDGE ENGELHARDT
                                                         MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
James, et al. v. Alliance Homes, Inc., et al.,
EDLA Case No. 09- 5336

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            SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ COMPLAINT
                   PURSUANT TO PRETRIAL ORDER NO. 53

       In compliance with Pretrial order 53 (Rec. Doc. 9073), plaintiffs hereby file their

Supplemental Exhibit “A” to their Complaint to match the plaintiffs to their correct

Manufacturer Defendants and Contractor/Installer Defendants.


       In addition to the information previously submitted, plaintiffs attach hereto a

Supplemental Exhibit “A” and incorporate same by reference herein.


                                                  Respectfully submitted:

                                                  GAINSBURGH, BENJAMIN, DAVID,
                                                  MEUNIER & WARSHAUER, L.L.C.

                                                  BY:    _s/Justin Woods
                                                         GERALD E. MEUNIER, #9471
                                                         JUSTIN I. WOODS, #24713
                                                         2800 Energy Centre
                                                         1100 Poydras Street
                                                         New Orleans, Louisiana 70163
                                                         Telephone: 504/522-2304
                                                         Facsimile:    504/528-9973
                                                         gmeunier@gainsben.com
                                                         jwoods@gainsben.com
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                                          CERTIFICATE OF SERVICE

         I hereby certify that on June 18, 2010, I electronically filed the foregoing with the Clerk of Court by using

the CM/ECF system which will send a notice of electronic filing to all counsel of record who are CM/ECF

participants. I further certify that I mailed the foregoing document and the notice of electronic filing by first-class

mail to all counsel of record who are non-CM/ECF participants.

                                                      s/Gerald E. Meunier
                                                      GERALD E. MEUNIER, #9471
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                                SUPPLEMENTAL EXHIBIT A


Tiffany James -                After due diligence, manufacturer and contractor unknown

Amanda Thoulion on behalf of the minor Tyler Thoulion - After due diligence, manufacturer
                                                        and contractor unknown

Nykeshia Dennis on behalf of the minor Gabriel Peck -        After due diligence, manufacturer
                                                            and contractor unknown

Paul Troetscher -              Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Audrienne James -              After due diligence, manufacturer and contractor unknown

Arnika Arbuthnot -             After due diligence, manufacturer and contractor unknown

Ernest Arbuthnot, Sr. -        After due diligence, manufacturer and contractor unknown

Ernest Arbuthnot, Jr. -        After due diligence, manufacturer and contractor unknown

Olreanto Arbuthnot -           After due diligence, manufacturer and contractor unknown

Orleanto Arbuthnot on behalf of the minor Carlos Arbuthnot -        After due diligence,
                                                                    manufacturer and contractor
                                                                    unknown
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Orleanto Arbuthnot on behalf of the minor Charles Lewis -            After due diligence,
                                                                     manufacturer and contractor
                                                                     unknown

Orleanto Arbuthnot on behalf of the minor Ireall Lewis -             After due diligence,
                                                                     manufacturer and contractor
                                                                     unknown

Charles Arbuthnot -            After due diligence, manufacturer and contractor unknown

Maylene Arbuthnot -            After due diligence, manufacturer and contractor unknown

Paul Davis -                   After due diligence, manufacturer and contractor unknown

Kevin Pitre -                  Fleetwood Enterprises, Inc.; Fluor Enterprises, Inc.

Patricia Hiatt on behalf of Irma Pitre -      Fleetwood Enterprises, Inc.; Fluor Enterprises, Inc.

Janice Bell -                  After due diligence, manufacturer and contractor unknown

Peter Rupp -                   Fleetwood Enterprises, Inc.; Fluor Enterprises, Inc.
